Case 2:04-Cv-02900-.]PI\/|-tmp Document 4 Filed 06/30/05 Page 1 Of 3 Page|D 5

IN THE UNJ;TED sTATEs DISTRICT cOURT Ftl.ED BY z
FoR THE wEsTERN DISTRICT oF TENNESSEE ~ D-c-
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TI'DMASM. GOU_D
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TERENCE LEE sToKES, W OF?N ?z.€EMP|~SS

Plaintiff,
vs. No. 04-2900-Ml/P
SHELBY COUNTY, et al.,

Defendants.

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ORDER OF DISMISSAL

 

Plaintiff Terence Lee Stokes, RNI number 82519, who was, at
the time he commenced this action, an inmate at the Shelby County
Detention Center in Memphis, filed a p;g §§ complaint pursuant to 42
U.S.C. § 1983 on November 4, 2004. The Court issued an order on May ll,
2005, directing the Plaintiff, within thirty days, to comply with the
Prison Litigation Reforn1Act of 1995 (“PLRA”), 28 U.S.C. § l915(a)-(b),
or pay the $150 civil filing fee. The Plaintiff's copy of this order
was returned by the post office on June lO, 2005, with a notation that
the Plaintiff had been discharged. The Plaintiff has not supplied the
Clerk with a forwarding address, and the TDOC website indicates the
Plaintiff is not Currently incarcerated in a TDOC facility.

Because the Plaintiff has not provided the Clerk with a
forwarding address, there appears to be no way to communicate with him.
lt is the most basic responsibility of a litigant to keep the Court

informed_ concerning' his whereabouts. Accordingly, this action is

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with nqu se and/or re(a) FHCP on ” "'

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DISMISSED without prejudice, pursuant to Fed. R. Civ. P. 4l(b), for

failure to prosecute.

IT IS SO ORDERED this § §;2 day Of June, 2005.

t@m‘CLQQ

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

   
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02900 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

Terence Lee Stokes

SHELBY COUNTY CORRECTIONAL COl\/[PLEX
1045 Mullins Station Road

Memphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

